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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,
                 Plaintiff,

v.                                            Case No. 2:16-cr-20032-JAR

LORENZO BLACK,
KARI CARTER,
ANTHON AIONO,
ALICIA TACKETT,
CATHERINE ROWLETTE,
DAVID BISHOP,
                Defendants.



                ORDER APPOINTING SPECIAL MASTER




      On August 9, 2016, and again on August 16, 2016, the Court heard evidence

and argument from the parties regarding Sixth Amendment violations arising from

the United States Attorney’s Office possession of surreptitious video recordings of

attorney-client meetings and audio recordings of attorney-client communications at

the pre-trial holding facility, Corrections Corporation of America (CCA). Counsel in

this, and other cases, filed various motions challenging the recordings and the

government’s possession and use of the recordings. The recordings have been taken

into the Court’s custody until further order of the Court.
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       As the record stands now, the recordings of the attorney-client

communications violated the Sixth Amendment. The scale and scope, however, are

not yet established, nor is the full extent of the violations, whether constitutional,

legal, or ethical. Because of the potential magnitude of the violations and the

voluminous evidence to be gathered and reviewed, the Court has determined that

exceptional conditions exist and that matters exist that cannot be effectively and

timely addressed by an available district court judge or magistrate judge in the

district.

       Thus, the Court finds that a Special Master is appropriate and shall be

appointed to assist the Court in determining what discovery may be released, what

must be retained, the scope of the recordings, the knowledge, intent and purpose of

the USAO in obtaining protected communications, and what remedies, if any, may

be appropriate. The initial objectives and powers of the Special Master are set forth

below. The Court may expand the scope of the inquiries, or the authority needed to

meet the objectives, upon request of the Special Master.

                         Objectives of the Special Master

Objective One:

       To determine what materials obtained by the government in this case are
covered by the attorney-client1 privilege, confidentiality, or other privacy
protections (protected materials), and to determine how relevant non-protected
materials can be identified and distributed as discovery to these defendants and
other affected parties.




1 Attorney-client includes other members of the defense team, including

investigators, paralegals, interpreters, and expert service providers.
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Primary Areas of Inquiry:

      A. Review portions of video surveillance, other than the video of the attorney-
         client rooms2 designated on DVR No. 6, to determine whether they contain
         privileged or confidential information.3

      B. Determine whether audio recordings of the attorney-client visitation room
         were made and whether those recordings are included with the video
         surveillance or other materials requested or obtained by the United States
         Attorney’s Office for the District of Kansas (USAO).4

      C. Review recordings of telephone calls, or conduct searches by attorney
         phone numbers, to determine which calls are between a client and his or
         her attorney.

      D. Determine what, if any, steps were taken by pretrial holding facilities to
         protect confidential audio communications, such as blocking certain phone
         numbers or warning callers, and whether those measures were
         communicated to either the clients or their attorneys.

      E. Review the computers, seized from the law library at CCA, to determine
         whether they contain attorney-client privileged or confidential
         information.

      F. Determine how the relevant non-protected information can be excised
         from the video recordings, the audio recordings, and the law library
         computers, so that any non-protected materials can be distributed as
         discovery in this and other cases.


2 The surveillance video of the attorney-client visitation rooms contains confidential

non-verbal communication and will not be viewed by, or provided to, any party
other than the Special Master, without demonstration to this Court that the
materials are not protected and are relevant to material issues in this case.

3 The volume of video recordings prohibits review of all of the footage for

determination of these issues. The Special Master has authority to review any
material, but is not expected to review or categorize all video recordings filed inder
“Attorney Room” and “Attorney Room 4-7” on Disc 6.

4 USAO shall include all attorneys employed by the District of Kansas USAO; all

federal, state, and task force agents working with the USAO; and all other
employees of the USAO, including IT, paralegals, and other staff.
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      G. Determine whether any other protected communications, such as legal
         mail or videoconferencing, were recorded by the pretrial holding facilities
         or obtained by the USAO.
Objective Two:
      To determine how the USAO came into possession of protected materials,

including those identified in Objective One, and determine any policy or practice

related to obtaining protected materials. This should include identifying any specific

cases or specific government attorneys or agents who have obtained protected

material.

      Primary Areas of Inquiry:

      A. Determine the prior policy and practices of pretrial holding facilities
         under contract with the United States Marshal Service with regard to
         video recording or audio recording protected communications.

      B. Identify past occasions when CCA, or other contract pretrial holding
         facilities, have made available to the government or any law enforcement
         agency video or audio recordings of protected communications.

      C. Determine whether the USAO has intentionally sought production,
         formally or informally, of any protected communication from pretrial
         holding facilities for use in an investigation, grand jury proceedings, or
         prosecution, and by what means.

      D. Determine whether the USAO has inadvertently come into possession of
         protected materials from any contract pretrial holding facility and
         whether appropriate remedial or protective measures were taken to notify
         the parties and protect the security of the communications.

      E. Determine whether and how the USAO or its agents have used or
         attempted to use protected material in any investigation, grand jury
         proceedings, or litigation, whether or not it was disclosed to the Court or
         to the parties. This should include any attempts to interfere with the
         attorney-client relationship, such as requesting attorney fees or alleging
         conflicts of interest.
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Objective Three:
      To report to the Court the parties affected by any breaches of privilege,

confidence, Constitutional rights, statutory rights, or ethical obligations, and to

recommend available remedies, in this case or others, if any are appropriate.


          Primary Areas of Inquiry:

      A. Identify by using the visitation logs and other facility records the
         attorneys and clients who met during the time span covered by the video
         recordings of protected meetings in this case, or any other case involving
         USAO possession of protected material discovered during this inquiry.

      B. Identify the attorneys and clients who communicated by phone or
         videoconferencing during the time span covered by the audio recordings in
         this case, or any other case involving USAO possession of protected
         material discovered during this inquiry.

      C. Recommend possible remedies that might be available to parties affected
         by identified breaches of privilege, Constitutional right, statutory rights,
         or ethical obligations.
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        Authority, Powers, and Responsibilities of the Special Master
      The Court grants to the Special Master the following authority, powers, and

responsibilities:

      A. Communicate, ex parte, with parties and attorneys to facilitate scheduling
         matters, to make informal suggestions to the parties to facilitate
         compliance with Orders of the Court; and as necessary to permit the full
         and efficient performance of the master’s duties;

      B. Issue subpoenas for the production of documents or taking of testimony on
         the record;

      C. Inspect and copy files, documents, communication, and electronic data of
         any pretrial holding facility, the United States Marshal Service, and the
         USAO as necessary to complete the state objectives of the inquiry;

      D. Retain the services of experts, consultants, or advisors for specialized
         tasks, such as computer analysis;

      E. Obtain privileged information from counsel without the disclosure
         constituting a waiver of the attorney-client privilege;5

      F. Impose sanctions, other than contempt, against a uncooperative party or
         non-party, and may recommend contempt sanctions against a party or
         non-party.

      G. The Special Master will be compensated at a rate of $ per hours, and
         shall be reimbursed for all reasonable expenses. The Special Master’s fee
         and other costs shall be borne by _____________. The Special Master shall
         submit periodic itemized statement of fees and expenses to ________.

      H. The Special Master shall proceed with all reasonable diligence and to keep
         the Court apprised of progress and an anticipated time line toward
         completion of the appointment.

      I. Upon consultation with the Court, the Court may Order the Special
         Master to expand the inquiry beyond the Objectives listed above, as
         necessary and appropriate.

5 Kansas Rules of Professional Conduct 1.6.
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                    Access to the Special Master’s Findings
      The parties shall file with the Clerk, under seal, all papers for consideration

by the Special Master. The Special Master shall also file with the Clerk, under seal,

all reports or other communications with the Undersigned Court. At the conclusion

of the Special Master’s inquiry, the Court shall, at its discretion, make available to

the parties any findings and recommendations of the Special Master. The Court will

maintain the confidentiality of any protected material, unless prior notice and

opportunity to object has been provided to the affected party.


      Any party seeking review of any ruling of the Special Master shall comply

with the requirements of Fed. R. Civ. P. 53(f). Any party may object to any Order or

Report by filing such objection with the Court within seven days of the issuance of

the Order or Report. Any response to such objection must be within seven days of

the objection. The Court will determine whether, based on the reasons provided in

the party’s objection, it is appropriate to review the Special Master’s Orders or

Report under a de novo or other appropriate standard, and whether the objection

should be sustained or denied.


      The Court appoints _______________________ as Special Master.


      IT IS SO ORDERED.


      Dated this ___ day of August, 2016


                                               ___________________________
                                               Judge Julie A. Robinson
                                               U.S. District Court Judge
